          Case 2:22-cv-00647-RDP Document 6 Filed 07/06/22 Page 1 of 1                             FILED
                                                                                           2022 Jul-06 PM 01:18
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


 THOMAS SAMBO                                  }
 Individually and on behalf of all other       }
 similarly situated,                           }
                                               }
        Plaintiff,                             }    Case No.: 2:22-CV-00647-RDP
                                               }
 v.                                            }
                                               }
 AMWASTE, LLC,                                 }
                                               }
        Defendant.                             }

                                           ORDER


       This case is before the court on Plaintiff’s Notice of Voluntary Dismissal of Defendant

Amwaste, LLC. (Doc. # 5). In light of this Notice, it is hereby ORDERED that the action against

Defendant Amwaste, LLC is DISMISSED WITHOUT PREJUDICE.

       The Clerk of Court is DIRECTED to close this action.

       Costs are taxed as paid.

       DONE and ORDERED this July 6, 2022.



                                           _________________________________
                                           R. DAVID PROCTOR
                                           UNITED STATES DISTRICT JUDGE
